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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                      Chapter 11

    AMERIFIRST FINANCIAL, INC.,1                               Case No. 23-11240 (TMH)

                            Debtors.                           (Joint Administration Requested)


                             PRELIMINARY OBJECTION OF
                     ERIC BOWLBY TO DEBTORS’ FIRST DAY MOTIONS

                  Eric Bowlby, on behalf of himself and other displaced shareholders of AmeriFirst

Financial, Inc. (“Mr. Bowlby” or the “CEO”), by his undersigned counsel, hereby objects to

Debtors’ First Day Motions (as defined below) and respectfully states as follows:2

                                        The Parties and the Motions

            1.    On August 24, 2023, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed their respective petitions for relief under chapter 11 of the

Bankruptcy Code. On August 29, 2023, the Debtors filed the following motions (together, the

“First Day Motions”):

                 Motion of Debtors for Entry of an Order (I) Directing Joint Administration of
                  Chapters 11 Cases and (II) Granting Related Relief [D.I. 16] (“Joint Administration
                  Motion”);

                 Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
                  Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation
                  and Reimbursable Employee Expenses and (B) Continue Employee Benefits
                  Programs and (II) Granting Related Relief [D.I. 18] (the “Employee Wage
                  Motion”);

1
 The Debtors and the last four (4) digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
117, Mesa, AZ 85203.

2
 Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Declaration of T. Scott
Avila in Support of First Day Motions (the “First Day Declaration”), the First Day Motions, or the body of this
objection, as applicable.
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             Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Debtors to
              (A) Continue Operating Cash Management System. (B) Honor Certain Prepetition
              Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D)
              Granting Related Relief [D.I. 19] (the “Cash Management Motion”);

             Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
              Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
              Adequate Protections to Prepetition Lenders, (III) Modifying the Automatic Stay,
              (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 21] (the
              “DIP Motion”); and

             Debtors’ Motion for Interim and Final Orders Under Sections 105(a), 363, 1107(a)
              and 1108 of the Bankruptcy Code (I) Authorizing the Debtor to Continue in the
              Ordinary Course of Business, (A) Sale Activities Related to Certain “CIK”
              Properties, (B) Originating and Funding Mortgage, Loans (C) Selling “Scratch and
              Dent Loans,” (D) Servicing Loans, and (II) Granting Related Relief [D.I. 22] (the
              “Loan Sale Motion”).

                                    Preliminary Statement

       2.     At the status conference in this case just yesterday, Debtors’ proposed counsel

stated to the Court that this case comes to the Court ‘in a bit of a different manner.’ The CEO

could not agree more. The facts of these chapter 11 cases and what has transpired over the past

couple of weeks are both remarkable and unbelievable, and while final decisions will not be made

with respect to these cases and these Debtors today, the requested relief by the Debtors, if

approved, could strengthen RCP’s and the Debtors’ scheme to the point where it may be difficult

to unwind.

       3.     At essence, this is a corporate takeover directed by junior secured lender RCP,

amounting to something akin to an involuntary petition by a secured lender. Even before the

execution of the Prepetition Credit Agreement and related documents, RCP has operated in bad

faith, deliberately manufacturing “Sophie’s choice” emergency situations to cause AFI and its

directors and officers to either accede to RCP’s demands or default on their obligations to other

creditors. This included sweeping large amounts of cash from AFI’s bank accounts on several




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occasions, despite AFI’s placing RCP on notice that those sums had been designated as necessary

for AFI to meet other obligations. RCP would then wait until the eleventh hour before AFI’s

obligations became due to dangle a financing lifeline in front of AFI, subject to oppressive and

unconscionable conditions.

       4.       When AFI finally had enough of RCP’s bad faith conduct with its latest refusal to

fund payroll earlier this month, which also constituted material breaches of the Prepetition Credit

Agreement and related documents, it issued a Notice of Default to RCP to force RCP to stop

playing games. This Notice of Default caused RCP to begin effecting its own premeditated attempt

to conduct a hostile takeover of AFI. Within the span of a single day, RCP:

               Issued its own Notice of Default, making unsubstantiated and/or manufactured

                claims that AFI had itself materially breached those agreements, as a pretext for

                wresting control of all the shareholder equity pledged by the AFI Shareholders;

               Used the pledged AFI shares to oust all of AFI’s then-current directors and officers

                and to install RCP’s own people in their stead;

               Sent a team of RCP agents and affiliates—accompanied by guards armed with

                guns—to AFI’s Arizona headquarters in order to forcibly restrain AFI’s then-

                current directors and officers while they changed AFI’s office locks, corporate

                passwords and credentials, and IT access; and

               Transferred the pledged AFI shares to a newly-created Delaware corporate affiliate

                (Debtor Phoenix 1040 LLC) so as to create the guise of arms’ length corporate

                transactions, artificially manufacture venue in Delaware, and plunge AFI into

                “voluntary” bankruptcy.




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        5.       Because RCP’s behind-the-scenes bad faith acts have effectively puppeteered AFI

into entering this improperly venued “voluntary” bankruptcy, the Court should reject the Debtors’

First Day Motions to the extent that such relief would permit RCP to further entrench itself and its

installed agents and affiliates into these chapter 11 proceedings.

                        Counterstatement of Facts and Procedural History

A.      Background

        6.       At all relevant times prior to the Petition Date, Eric Bowlby was the CEO,

President, Director, Chairman of the Board, and majority shareholder of AFI. The only other

shareholder was Eric Bowlby’s father, Kenneth (collectively with Eric Bowlby, the “AFI

Shareholders”).

        7.       On or about May 15, 2023, AFI entered into a series of agreements, including but

not limited to, an Amended and Restated Credit and Security Agreement (the “Prepetition Credit

Agreement”), a Limited Waiver and Second Amendment to Credit and Security Agreement (the

“Second Amendment”), a Pledge Agreement, and a Security Agreement (collectively, the

“Agreements”), with RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. as Administrative

Agent, and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit

Fund (Fund IV-A), L.P. as Lenders.3 Copies of those Agreements are attached as Exhibits A, B,

C, and D, respectively.

        8.       Under the Pledge Agreement, the AFI Shareholders pledged their equity ownership

of AFI as collateral security for the Prepetition Credit Agreement, and further agreed to appoint

RCP as proxy and attorney-in-fact for such collateral, provided that RCP would be able to vote



3
 Upon information and belief, RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit
Fund (Fund IV-A), L.P. are affiliates of Reverence Capital Partners (collectively, “RCP”).



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such collateral only “upon the occurrence of an Event of Default and so long as [the Event of

Default] is continuing.” See Ex. C ¶ 7.

        9.       Under the Agreements, RCP’s secured creditor status was recognized to be

subordinate to first priority liens by warehouse lenders under warehouse financing agreements.

See Ex. D § 1.

B.      Events Immediately Preceding the Petition Date

        10.      According to the First Day Declaration, Debtor Phoenix 1040 LLC retained Mr.

Avila and Paladin, the Debtors’ purported independent chief restructuring officer, on August 21,

2023. To date and other than the pleadings in this case, the CEO has no knowledge of Phoenix

1040 LLC or its relation to AFI.

        11.      After RCP’s latest refusal to fund payroll as is required under the Prepetition Credit

Agreement, on August 22, 2023, AFI, through its counsel, issued a formal Notice of Default to

RCP (the “AFI Notice”), laying out in detail RCP’s bad faith actions constituting material breaches

under Sections 5.01(e) (adoption of Approved Budgets) and 10.05(b) (disbursement of funds in

AFI’s Collection Account) of the Prepetition Credit Agreement.4 A copy of the AFI Notice is

attached as Exhibit E. The AFI Notice also notified RCP of AFI’s intention to litigate its rights

under the various Agreements if RCP did not immediately cure its blatant and material breaches.

        12.      Two days after the AFI Notice was issued, on August 24, 2023—that is, the Petition

Date—RCP issued its own reciprocal Notice of Default to AFI (the “RCP Notice”). A copy of the

RCP Notice is attached as Exhibit F.




4
  A more detailed explanation of the material breaches identified in the AFI Notice as well as the alleged breaches
cited in the RCP Notice will be provided in Mr. Bowlby’s forthcoming motion to dismiss or in the alternative, to
appoint a chapter 11 trustee.



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       13.     Notably, the RCP Notice failed to cite any specific dates or events constituting

Events of Default as required by the Prepetition Credit Agreement. Moreover, the RCP Notice

mischaracterized the AFI Notice’s underlying substance as somehow “challeng[ing] the

enforceability of Section 10.05(b)”, when in fact the AFI Notice sought to enforce AFI’s rights

pursuant to Section 10.05(b) of the Prepetition Credit Agreement.

       14.     RCP arranged to “hand-deliver” its Notice that same day, by way of a team of RCP

employees and agents accompanied by multiple guards armed with guns. In other words, RCP

used delivery of its Notice as a manufactured excuse to lock down AFI headquarters and to forcibly

confine the CEO as well as AFI’s officers and employees while its team changed locks, company

passwords, IT access, and took other means to wrest away total control of the company.

       15.     Mr. Avila and other members of Paladin accompanied the RCP agents and guards

to the premises of AFI. To the CEO’s knowledge, this was the first time Mr. Avila or Paladin set

foot in any AFI office.

       16.     RCP further took steps to lock the CEO out of his company email account, which

resulted in a widespread panic when AFI employees were confronted by RCP’s armed guards and

Mr. Bowlby was unable to send out any company-wide communications to employees to explain

the situation and advise them to cooperate for the time being. RCP finally arranged to return email

access to Mr. Bowlby hours later so that he could calm AFI’s panicked employees and apprise

them of the situation, via a company-wide email that was drafted and vetted by RCP’s attorneys

and agents.

       17.     On that same day of August 24, 2023, RCP executed an Assignment and

Assumption Agreement assigning its rights to AFI shares under the Pledge Agreement to Debtor




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Phoenix 1040 LLC, a Delaware limited liability company. A copy of the Assignment and

Assumption Agreement is attached as Exhibit G.

       18.     According to its Certificate of Formation, Phoenix 1040 LLC, was formed on June

28, 2023, only 57 days before the Petition date. A copy of Phoenix 1040 LLC’s Certificate of

Formation is attached as Exhibit H.

       19.     The signatory to Phoenix 1040 LLC’s Certificate of Formation is Milton R.

Berlinski. Upon information and belief, Milton R. Berlinski is the managing partner and co-

founder of RCP.

       20.     Similarly, the Certificate of Formation for Phoenix 1040 Holdings, LLC, the sole

member of Phoenix 1040 LLC, is dated August 18, 2023, only 6 days before the Petition Date, and

is also signed by Milton R. Berlinski as authorized person. A copy of Phoenix 1040 Holding

LLC’s Certificate of Formation is attached as Exhibit I.

       21.     Again, on that same day of August 24, 2023, David Sloane (“Sloane”), the Director

of Finance of RCP and Managing Director of Phoenix 1040 LLC, caused Phoenix 1040 LLC as

the purported new sole shareholder of AFI to execute a corporate resolution titled “Unanimous

Written Consent of the Sole Shareholder of AmeriFirst Financial, Inc.” (the “Shareholder

Resolution”), in which it removed the AFI Shareholders from their respective positions as directors

of AFI’s two-person Board, and installed Sloane and Jeffrey Dane (“Dane”) in their place. A copy

of the Shareholder Resolution is attached as Exhibit J.

       22.     Again, on that same day of August 24, 2023, Sloane and Dane, as the purported

newly-appointed directors of AFI, executed another corporate resolution titled “Unanimous

Written Consent of the Board of Directors of AmeriFirst Financial, Inc.” (the “Director

Resolution”), which removed all of AFI’s existing officers from their positions. In their place, the




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Director Resolution appointed Sloane as Chairman of the Board; Thomas Scott Avila (“Mr.

Avila”) as President, Treasurer, and Secretary; and Dane was appointed as Independent Director.

The Director Resolution also canceled the AFI stock certificates issued to the AFI Shareholders

and issued a new stock certificate to Phoenix 1040 LLC, representing all issued and outstanding

shares of AFI’s equity capital. A copy of the Director Resolution is attached as Exhibit K.

       23.     Again, on that same day of August 24, 2023, Sloane and Dane further executed

another corporate resolution also titled “Unanimous Written Consent of the Board of Directors of

AmeriFirst Financial, Inc.” (the “Petition Resolution”), in which they authorized Mr. Avila as

Chief Restructuring Officer to initiate and file the instant Petition.

C.     Post-Petition

       24.     Since the Petition Date, the CEO has diligently cooperated with Mr. Avila in an

effort to preserve AFI’s remaining assets and protect AFI’s employees from further disruption and

financial harm, all at the request of Mr. Avila and Paladin and without compensation. Specifically,

Mr. Bowlby’s post-petition involvement with AFI has involved setting up, preparing for, and

fielding calls with investors with whom AFI had historically done business, such as Fannie Mae,

Freddie Mac, and PHH Mortgage, in order to preserve AFI’s ability to operate as well as to sell

some of AFI’s current loans. Mr. Bowlby mostly handled such calls on his own (with permission

from Mr. Avila) and only as of yesterday has Mr. Avila began to attend the calls with Mr. Bowlby.

       25.     On August 29, 2023, the Debtors filed their First Day Motions. With respect to the

DIP Motion, the Debtors are seeking approval of $5M in post-petition financing from RCP,

including $2,775,000 on an interim basis.

       26.     Also included with the First Day Motions is the Loan Sale Motion. Mr. Bowlby

assisted Mr. Avila and the Debtors with preparing this motion at Mr. Avila’s direction. Upon

information and belief, if such motion is approved, the sales to be realized would equal roughly


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$3.8M in the near term, or $1.1M more than the Debtors are receiving from the interim DIP

financing.

                                             Objections

A.       Objection to Joint Administration Motion

         27.   Debtor Phoenix 1040 LLC (“Phoenix”) is a Delaware limited liability company and

Debtor AFI is an Arizona corporation. The Debtors purportedly established venue through

Phoenix, and now seek to jointly administer the cases here in Delaware.

         28.   However, Phoenix was an entity formed on June 28, 2023, i.e. only 57 days prior

to the Petition Date. “[A] case under title 11 may be commenced in the district court for the district

. . . in which the domicile, residence, principal place of business . . . have been located for the one

hundred and eighty days immediately preceding such commencement . . . .” 28 U.S.C. § 1408(1)

(emphasis added). Clearly, Phoenix does not meet this temporal requirement.

         29.   Even worse, as shown in the Certificates of Formation of Phoenix 1040 LLC and

its parent Phoenix 1040 Holdings LLC, both entities were formed by Mr. Milton R. Berlinski, who,

upon information and belief, is a co-founder and managing partner of RCP; these were not entities

formed by AFI or any of its affiliates or insiders. See Exs. H and I.

         30.   Further, while not an issue for today, it is unclear from the record if Phoenix was

in financial distress on the Petition Date, or even when it hired Mr. Avila and Paladin to be chief

restructuring officer.

         31.   As the Prepetition Lenders are attempting to manufacture venue solely for their

benefit and to pull in AFI as a co-debtor through this motion, the Court should deny the relief

requested in the motion and keep each Debtor’s case separate. By granting the motion, the Court

may prejudice and hinder further relief that the other parties in interest may seek in the respective

cases.


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B.     Objection to Employee Wage Motion

       32.     Mr. Bowlby cares deeply about his employees and the business generally, and

understands the need for the employees to be paid what they are owed. Indeed, he would not

continue to be working for free for the Debtors if his employees were not important to him.

However, to the extent that the payments requested through the Employee Wage Motion are being

funded by the DIP Financing proposed by RCP, Mr. Bowlby objects to such payments.

       33.     The CEO must emphasize the irony of RCP now allowing payment to employees

now that its orchestrated bankruptcy is in place, yet it was RCP’s sweep of AFI’s collection

account earlier this month which prevented AFI’s payment of employees at that time and led to

the August 22 Notice of Default. Much has changed in a week.

       34.     Nevertheless, RCP needs employees to be paid and AFI to continue operating as a

going concern in order for them to see any recovery. Therefore, any and all payments to employees

under the terms of the interim order should not be tethered to RCP’s DIP financing or any other

funds that may further entrench RCP in these cases. Instead, such payments should be made from

any post-petition receipts from AFI or other funding sources, including the sales of loans through

the Loan Sale Motion.

       35.     Moreover, the CEO objects to paragraph 4 in the interim order as it ties in any

employee payments to the RCP financing. This paragraph should be stricken.

C.     Objection to Cash Management Motion

       36.     It is unclear from the papers which individuals will be responsible for monitoring

and managing AFI’s Cash Management System.             As noted above, David Sloane (an RCP

employee) and Steve Avila (an officer appointed by RCP) are currently the only officers of AFI

and are the only individuals that have purported control on the company’s cash and where it goes.




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          37.    Accordingly, to the extent the motion seeks to entrench Messrs. Sloane and Avila

as the only individuals responsible for AFI’s Cash Management System, the CEO vehemently

objects as each individual is working solely for the benefit of RCP in these cases.

D.        Objection to DIP Motion

          38.    The DIP is highly objectionable on its face because RCP are on both sides of the

transaction. In determining whether to approve postpetition financing, courts typically will not

substitute their own views regarding a proposed transaction as long as it is supported by a

reasonable exercise of the debtor's business judgment. In re L.A. Dodgers LLC, 457 B.R. 308, 313

(Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business judgment of a debtor in

the selection of the lender.”). However, where, as here, the transaction involves an insider or

insiders stand to benefit, the standard for approval is the much higher “entire fairness” review. In

re Zenith Elecs. Corp., 241 B.R. 92, 108 (Bankr. D. Del. 1999). Under the “entire fairness”

standard of judicial review, the Debtors must demonstrate that the challenged transaction is

entirely fair to creditors both in terms of (a) “fair dealing,” which entails an examination of when

the transaction was timed and how it was initiated, structured, negotiated and disclosed to the

directors, and (b) “fair price,” which entails an examination of the economic and financial

considerations of the transaction. Id. (citing Weinberger v. UOP, Inc., 457 A.2d 701, 711 (Del.

1983)).     Other courts have also held that transactions with a debtor’s insiders, including

postpetition financing, are subject to heightened scrutiny by the Court. See WHBA Real Estate

Ltd. P’ship v. Lafayette Hotel P’ship (In re Lafayette Hotel P’ship), 227 B.R. 445, 454 (S.D.N.Y.

1998) (“[S]ince there is an incentive and opportunity to take advantage, dominant shareholders’

and others insiders’ loans in a bankruptcy must be subject to rigorous scrutiny.”), aff’d, 198 F.3d

234 (2d Cir. 1999); Citicorp Venture Capital, Ltd. v. Comm. of Creditors Holdings Unsecured

Claims (In re Papercraft Corp.), 211 B.R. 813, 823 (W.D. Pa. 1997) (“[I]nsider transactions are


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subjected to rigorous scrutiny and when challenged, the burden is on the insider not only to prove

the good faith of a transaction but also to show the inherent fairness from the viewpoint of the

corporation and those with interests therein.”), aff’d, 160 F.3d 982 (3d Cir. 1998).

       39.     Viewed through this lens, the DIP Term Sheet and the Debtors’ requested relief

falls on its face. RCP hired advisors for the Debtors-to-be on August 21 with the retention of

Paladin (and potentially funded its retainer from purely RCP funds). Despite being in default itself

on August 22, it then exercised its hostile takeover of AFI on August 24. Assuming the Debtors’

facts are true, starting when Mr. Avila arrived on the premises of August 24 (when he had no

information about the company or its operations let alone its financing needs) he then proceeded

over the weekend to search out DIP financing from other sources, determine none was available,

and proceed with agreeing to an 11-page DIP Term Sheet and 25-page interim order that appears

on its face to be fully-baked. While this may be feasible, what is more likely is that the terms of

this DIP Term Sheet were already formulated by RCP even before the hostile takeover on the 24th,

and that all that was needed was signoff from a purported independent fiduciary. The CEO has

his doubts, and so should this Court and all other parties in interest.

       40.     In addition to or supplemental to the foregoing, the CEO objects to the following:

General Issues with DIP Financing

       (a)     DIPs Are Available on More Favorable Terms. AFI was hijacked by RCP on
               August 24, 2023, at which point Mr. Sloane (an RCP employee) was made a
               Director, and Messrs. Sloane and Avila (a professional hired by RCP) filled all
               officer roles. Mr. Avila did not search out any other financing source as he is
               beholden to RCP who put him into power. Unless the Debtors can prove they
               exercised actual fiduciary duties in searching for the best terms for the Debtors, this
               financing should be denied.

       (b)     The Terms of the Proposed DIP Term Sheet Are Not Fair and Appropriate.
               The Proposed DIP Term Sheet was not negotiated in good faith or at arm’s length
               because RCP was on both sides of the deal. If Mr. Avila only showed up on the
               Debtors’ doorstep with armed guards on August 24 (at which point he knew nothing
               of the business or its cash needs), it strains credulity that he and the entity that


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              placed him (RCP) were able to negotiate fair terms of an 11-page term sheet and a
              25-page interim DIP order. Instead, the CEO submits the DIP Term Sheet and the
              Interim DIP Order were prebaked by RCP leading up to the events of August 24,
              waiting only for the rubber stamp of the newly appointed directors and officers of
              the company put there by RCP.

       (c)    The DIP Lenders Should Not Be Deemed Good Faith Lenders. As noted
              throughout this Objection, RCP has not acted in good faith in its hostile takeover
              of AFI when it was already in material breach of its loan documents. This will be
              further briefed and argued in the CEO’s forthcoming motion to dismiss or in the
              alternative, appointing a chapter 11 trustee. In the interim, the Court should not
              approve any provisions that find RCP is a good faith lender under section 364(e) of
              the Bankruptcy Code so that any DIP financing that may be approved may be
              reversed on appeal.

       (d)    The Court Should View the DIP Under a Strict Scrutiny Standard and not the
              Business Judgment Standard. The Debtors claim this DIP should be judged
              under the business judgment standard (see ¶ 35). Not true. As noted above, this is
              an insider DIP, as all of the directors and officers are RCP affiliates or agents.
              Accordingly, the Court should apply strict scrutiny when analyzing the terms of the
              DIP, and the Debtors need to put on a record that supports their contention.

       (e)    Not all Cash Collateral is Prepetition Cash Collateral. The DIP Motion is
              materially misleading as it claims RCP is the senior secured lender. In fact, it is
              AFI’s numerous warehouse credit facility lenders in their various mortgage loans
              that are senior secured and above RCP. The Debtors and RCP need to prove that
              there is a necessary equity cushion in order to prime the liens of the warehouse
              facilities without those lenders’ consent. They have not put on such a record.

Issues with Interim Order

       (f)    The Challenge Period is Truncated and Inappropriate [¶5f of the Interim
              Order]. The proposed Challenge Period is truncated and in violation of the Court’s
              Local Rules. Local Rule 4001-2(a)(Q) requires all “parties in interest, including,
              but not limited to, any official committee appointed in the[] cases, at least seventy-
              five (75) days from entry of the initial interim order . . . .” Here, the Debtors are
              only providing parties in interest with 21 days from entry of the Final Order, and if
              a chapter 7 or 11 trustee is appointed, the later of 21 days from entry of the Final
              Order and 30 days from their appointment. This time period is highly prejudicial
              to parties’ and the estates’ rights to challenge the liens of RCP and investigate the
              multitude of bad acts (including lender liability) that may be brought by the estate
              of AFI.

       (g)    Strike the “No Control” Provision [¶5g of the Interim Order]. The Debtors and
              RCP attempt to sneak in this paragraph which is an unequivocal misrepresentation
              of the facts leading up to this case. RCP, through Phoenix, Mr. Sloane, and Mr.
              Avila, purportedly took control of AFI on August 24. Mr. Avila said as much in


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              his own declaration. Yet the Debtors are attempting to include a provision in the
              Interim DIP Order to have this Court find otherwise.

       (h)    Findings Regarding the DIP Loan Should be Subject to a More Robust Record
              [¶6 of Interim Order]. For reasons stated previously, the Court is not in a position
              now to make findings of good cause, the market for more favorable terms of the
              DIP, good faith, etc., considering the actions taken by RCP leading up to these cases
              and the limited record before it. Any such findings should be stricken until the
              myriad issues with the Debtors’ purported filing are litigated.

       (i)    AFI Cannot be Bound to the DIP Term Sheet Now [¶8 of Interim Order].
              Paragraph 8 of the Interim Order reads as if the DIP Term Sheet becomes a binding
              obligation upon entry of the Interim Order. As parties in interest have not had
              requisite notice or time to analyze all aspects and ramifications of the DIP Term
              Sheet, such obligations cannot be binding on the Debtors’ and their estates as of
              today.

       (j)    The DIP Liens, DIP Superpriority Claims, and the Adequate Protection
              Obligations Must be Subject to the Challenge Period and Voidable [¶¶9-11 of
              Interim Order]. The DIP Liens, DIP Superpriority Claims, and the Adequate
              Protection Obligations all become valid and binding on entry of the Interim Order.
              For the reasons stated previously, such liens and claims cannot be binding on the
              Debtors’ estates until the expiration of the Challenge Period (as requested to be
              revised).

       (k)    Preservation of Rights Provisions are Inappropriate [¶18 of Interim Order].
              This paragraph is highly inappropriate considering the facts of these cases and
              further entrench RCP as a purported independent actor. Specifically, paragraph
              18(a) chills AFI from seeking financing from a neutral third party on equal or better
              terms that RCP.

       (l)    Certain Events of Default are Case Dispositive [¶21 of Interim Order].

              i.     Paragraph 21(a): It is an Event of Default if Phoenix is not the sole owner
                     of the equity in AFI. By this provision, the Debtors and RCP foresee the
                     CEO’s challenge to their purported change of control on August 24. This
                     provision should be stricken as this issue will be litigated in this case.
       (m)    Exculpation Provision is Inappropriate [¶25 of Interim Order]. This provision
              purports to remove any liability of the DIP Agent and the DIP Lenders for “any
              claims arising from the prepetition and postpetition activities of the Debtor.” RCP
              is currently in control of the Debtors. Therefore, this provision should be stricken.

Issues with DIP Term Sheet

       (n)    Facility Size. The $5M amount is excessive based on the budget and what AFI
              needs in the near term. Moreover, as noted below, the revenue that will be
              recognized from ordinary course sales requested in the sale motion (approximately


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       $3.8M) will be sufficient to fund these cases should the proceed. Accordingly, the
       Debtors do not need $5M (or $2.7M on an interim basis) from a deeply conflicted
       insider such as RCP.

(o)    Interest Rate and Fees. As the DIP Term Sheet was not negotiated at arm’s length,
       the economics of the DIP must be heavily scrutinized as RCP was on both sides of
       the deal.

(p)    Maturity and Repayment: Much of the maturity is tied to the conversion of
       Phoenix. As that issue remains ripe, such provisions are inappropriate.

(q)    Use of Proceeds: This section is more focused on protections afforded to RCP as
       prepetition and DIP Lender then anything else. By taking this money, AFI and its
       estate is bound to not litigate against RCP. Considering the material damage RCP
       has caused AFI over the past year, this provision alone provides the basis for the
       DIP to be denied.

(r)    Roll-Up is Inappropriate. Although not an issue to be determined until the Final
       Hearing (if any), it should be noted that any Roll-Up of insider debt is highly
       inappropriate and should be subject to the Challenge Period (as requested be
       revised). Moreover, the Debtors have already put on the record by its top 20
       creditor list that RCP is undersecured. Query whether the portion the Debtors will
       seek to roll-up is in fact unsecured debt.

(s)    Events of Default are Inappropriate. Once again, the Events of Default in the
       DIP Term Sheet were drafted by RCP with anticipation of future events. The
       following, among others, if approved, would entrench RCP and defeat any
       challenge to their hostile takeover and involuntary bankruptcy before any challenge
       could be brought:

              (i)     Paragraph (f), a Change in Control;

              (ii)    Paragraph (h), any dismissal or conversion of the chapter 11 case of
                      Phoenix 1040 LLC, an entity that is not in financial distress, is in
                      direct control by RCP, and establishes venue in Delaware;

              (iii)   Paragraph (i), prohibiting the Debtors from filing another DIP
                      motion with a new, independent lender;

              (iv)    Paragraph (n), prohibiting the appointment of an independent
                      chapter 11 trustee;

              (v)     Paragraph (s), prohibiting venue transfer from Delaware, RCP’s
                      manufactured venue.

(t)    Milestones. These are unknown and will purportedly be included in the Final
       Order. If RCP is already in control of the Debtors and its professionals, they should
       be able to set their own timing without such terms being set forth in a Final Order.


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       D.         Reservation of Rights with respect to Loan Sale Motion

       41.     As noted above, Mr. Bowlby assisted Mr. Avila and his team in preparing this

motion as it goes to heart of AFI’s core business. To Mr. Bowlby’s knowledge, the sales that will

result from approval of this motion will bring more than $3.7M into the company for general

corporate uses.

       42.     Accordingly, Mr. Bowlby believes that if these cases are to proceed, at least in the

interim, that such motion should be approved so that such sales can be completed and the $3.7M

in revenue can be realized by the company and be used for payroll and other critical expenses.

       43.     More importantly, the $3.7M in sale revenue obviates the Debtors’ purported need

of harmful DIP financing from RCP. By simple math, the $3.7M in sales exceed the interim draw

by $1.1M.

       44.     Should the Court approve the relief requested in the Loan Sale Motion, however,

language should be added to the interim and final order none of RCP’s prepetition liens and claims

attach to such funds. Mr. Bowlby will separately object to the Debtors’ waiver of their 552(b)

rights at a separate time, but, for now, the funds collected for such sales should not be predisposed

to be collectible by RCP as a lender.




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